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           IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF OHIO
                       CINCINNATI DIVISION

 THE KROGER CO.,                           :
                                           :
                                           :    Case No. 1:24-cv-00438-DRC
             Plaintiff,
                                           :
                                           :    District Judge Douglas R. Cole
      v.                                   :
                                           :
 THE FEDERAL TRADE                         :
 COMMISSION, et al.,                       :
                                           :
                                           :
             Defendants.                   :
                                           :



 MOTION BY THE STATES OF OHIO, ALABAMA, GEORGIA, IOWA,
   LOUISIANA, MONTANA, NEBRASKA, OKLAHOMA, SOUTH
  CAROLINA, TENNESSEE, TEXAS, AND WEST VIRGINIA FOR
              LEAVE TO FILE AMICUS BRIEF
_____________________________________________________________________________

      The States of Ohio, Alabama, Georgia, Iowa, Louisiana, Montana, Nebraska,

Oklahoma, South Carolina, Tennessee, Texas, and West Virginia respectfully move

for leave to file an amicus brief in this matter. This case presents the question

whether a scheme in which businesses are subjected to proceedings before an Ad-

ministrative Law Judge of the Federal Trade Commission violates Article II. The

answer is “yes.” Because the amici States have a significant interest in defending

structural, constitutional boundaries against federal agency actions that stray be-

yond them, they have a substantial interest in this matter. Accordingly, the amici

States move for leave to file an amicus brief supporting the plaintiffs.
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                                       Respectfully submitted,

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                          CERTIFICATE OF SERVICE

       I hereby certify that on September 23, 2024 a copy of the foregoing pleading

was filed electronically. Notice of this filing will be sent to all parties for whom

counsel has entered an appearance by operation of the Court’s electronic filing sys-

tem.

                                                    /s/T. Elliot Gaiser
                                                    T. Elliot Gaiser
